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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION

 MAXINE HALL DAVIS, FREDDIE L. HALL           *          CIVIL ACTION NO. 5:14-cv-02592
 EARNEST HALL, WILLIE C. HALL, JR., and       *
 JIMMY R. HALL, SR.                           *
                                              *
 Plaintiff                                    *
                                              *
 VERSUS                                       *          JUDGE S. MAURICE HICKS
                                              *
 NEXION HEALTH AT PIERREMONT, INC.            *          MAGISTRATE MARK L.
 D/B/A PIERREMONT HEALTHCARE CENTER *                    HORNSBY
                                              *
 Defendant                                    *
 ******************************************** *

                                            ORDER

         Considering the foregoing “Joint Stipulation of Dismissal with Prejudice” pursuant to

 Fed. R. Civ. P. 41(a)(1)(A)(ii):

         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the claims filed by

 Plaintiffs, Maxine Hall Davis, Freddie L. Hall, Earnest Hall, Willie C. Hall, Jr., and Jimmy R.

 Hall, Sr., against Defendant, Nexion Health at Pierremont, Inc., d/b/a/ Pierremont Healthcare

 Center, are hereby dismissed with prejudice, with the parties to bear their own costs and

 attorneys’ fees.

                                                     19 day of ____________________,
         SO ORDERED, in Shreveport, Louisiana, this _____             June

 2015.

                                            ________________________________________
                                                           JUDGE




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